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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
                                          :
ROBERT WHARTON,                           :                  CIVIL ACTION
                                          :
                  Petitioner,             :                  No. 01-6049
                                          :
            v.                            :
                                          :
DONALD T. VAUGHN, et al.                  :
                                          :
                  Respondents.            :
_________________________________________ :


                                            ORDER

        AND NOW, this 12th day of February, 2020, upon consideration of the parties’

supplemental briefing and the amicus curiae brief of the Pennsylvania Office of the Attorney

General, it is hereby ORDERED that:

    •   An evidentiary hearing on Petitioner’s remaining § 2254 habeas claim is scheduled for

        April 1, 2020 at 10:00 a.m. in Courtroom 4-B.

    •   As detailed in the accompanying Memorandum Opinion, the Pennsylvania Office of the

        Attorney General may participate at this hearing as amicus curiae and may call and cross-

        examine witnesses.

    •   Prior to the hearing, counsel for the parties and the Attorney General shall serve upon all

        other counsel:

           − a copy of each exhibit the party or the Attorney General expects to offer at the

               hearing, together with an index of all exhibits;

           − a list of all witnesses that the party or the Attorney General expects to testify; and

           − proposed stipulations.

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•   Declarations of witnesses will only be admitted by agreement of the parties.

•   The parties and the Attorney General may present evidence regarding the Philadelphia

    District Attorney’s Office’s communication with the victims’ family in connection with

    its concession of penalty phase relief.



                                          BY THE COURT:



                                          /s/ Mitchell S. Goldberg
                                          MITCHELL S. GOLDBERG, J.




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